                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 13-3004
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 AMY MARIE CAMPBELL,                   RECOMMENDATION
                                   CONCERNING DEFENDANT’S
         Defendant.                       GUILTY PLEAS
                     ____________________


                      I. INTRODUCTION AND BACKGROUND
       On February 20, 2013, a three-count Superseding Indictment was returned against
the defendant Amy Marie Campbell. On March 28, 2013, the defendant appeared before
United States Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1 and
14 of the Superseding Indictment. On March 28, 2013, Judge Scoles filed a Report and
Recommendation in which he recommended that defendant’s guilty pleas be accepted. On
March 28, 2013, Defendant filed a Waiver of Objections to Report and Recommendation.
The court, therefore, undertakes the necessary review of Judge Scoles' recommendation
to accept defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

   Case 3:13-cr-03004-CJW-MAR          Document 145      Filed 03/29/13    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of March 28,
2013, and accepts defendant’s pleas of guilty in this case to Counts 1 and 14 of the
Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 29th day of March, 2013.




   Case 3:13-cr-03004-CJW-MAR          Document 145       Filed 03/29/13    Page 2 of 2
